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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   CHARLES V. FARNSWORTH,                                 CASE NO. C20-5805-JCC
10                             Petitioner,                  ORDER
11          v.

12   JERI BOE,

13                             Respondent.
14

15          This matter comes before the Court on Charles V. Farnsworth’s petition for a writ of
16   habeas corpus (Dkt. No. 6). Magistrate Judge J. Richard Creatura issued a Report and
17   Recommendation recommending that the Court file Mr. Farnsworth’s petition as an amended
18   petition in Farnsworth v. Boe, C20-5067-BHS-JRC and administratively close this matter. (See
19   Dkt. No. 7.) Mr. Farnsworth did not object. Having thoroughly considered the Report and
20   Recommendation and the relevant record, the Court ADOPTS the Report and Recommendation
21   and DIRECTS the clerk to close this matter and docket Mr. Farnsworth’s habeas petition as an
22   amended petition in Farnsworth v. Boe, C20-5067-BHS-JRC. The Court further DIRECTS the
23   clerk to send a copy of this order to Mr. Farnsworth and Judge Creatura.
24          //
25          //
26          //


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              Case 3:20-cv-05805-JCC Document 8 Filed 11/03/20 Page 2 of 2




 1          DATED this 3rd day of November 2020.




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                                                   John C. Coughenour
 5                                                 UNITED STATES DISTRICT JUDGE
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     ORDER
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